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      10

      11                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

      12                                     COUNTY OF LOS ANGELES

      13


      14   ARIEL MYERS,                                  Case No. BC638302

      15                      Plaintiff,                 UNLIMITED JURISDICTION

      16             v.                                  DEFENDANT FORD MOTOR
                                                         COMPANY'S MEMORANDUM OF
      17   FORD MOTOR COMPANY, a Delaware                POINTS AND AUTHORITIES IN
           Corporation, and DOES 1 through 10,           SUPPORT OF MOTION FOR
      18   inclusive,,                                   JUDGMENT NOTWITHSTANDING
                                                         THE VERDICT
      19                     Defendant.
                                                         DATE: August 24, 2018
      20
                                                         TIME: 8:30 a.m.
      21
                                                         DEPT: 58
      22
                                                         RESERVATION ID: 180720333323
      23

     24                                                  Date    Filed: 10/21/2016
                                                         Trial   Date: 1/22/2018
     25                                                  Last    Day For Hearing: 8/24/2018
                                                         Last    Day For Decision: 9/4/2018
     26

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       8           (2003) 110Cal.App.4th 1640                                                   7

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     26
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       6    Mother Cobb 's Chicken T., Inc. v. Fox
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     20

     21     Statutes


     22     Civ. Code, § 2334                                                              14

     23     Civ. Code § 3294(a)                                                      passim

     24     Civ. Code §§ 1790-1795.8                                                         1

     25     Code Civ. Proc., § 629                                                        5,6

     26
            Veh. Code §33 1(a)(3), (4)                                                     13
     27
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     28
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           1     Veh. Code § 11713.1(f)
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                                                                        NG MOTION FOR JNOV
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               1      I.        INTRODUCTION

           2                    This is a Lemon Law case run amok. Plaintiff Ariel Myers
                                                                                         ("Plaintiff' or "Myers") claims
           3          that the transmission in his 2014 Ford Focus car was defectiv
                                                                                    e and was not repaired despite
           4          multiple attempts. He alleged a claim against defenda
                                                                            nt Ford Motor Company ("Ford") under the
           ^          Song-Beverly Act (Lemon Law), Civil Code §§ 1790-1795.8.
                                                                               The parties agreed on this claim.
                      They stipulated to liability, compensatory damages and
                                                                             civil penalties under Song-Beverly. At
           6
                      plaintiffs insistence, a purported "judgment" was even
                                                                             entered on this claim.
           7
                               But plaintiff did not stop there. He also claimed that Ford
                                                                                           committed fraud in selling him
           8
                     the vehicle to begin with, and on that basis sought punitiv
                                                                                  e damages. Ford drew the line and took
          9          the case to trial. The jury returned a plaintiffs verdict
                                                                               and $500,000 in punitive damages.

      10             Plaintiff, however, did not present evidence of ail of the elemen
                                                                                       ts of his claims, let alone punitive
                     damages.
      11
                              This motion seeks JNOV as to punitive damages, only.
      12                                                                           Granting this motion will leave
                     plaintiff with a judgment for his actual damages and civil
                                                                                penalties under the Song-Beverly Act,
      13
                     plus attorney fees and costs for that claim. Plaintiff has
                                                                                already conceded that he cannot recover
      14
                     the compensatory damages the jury awarded for fraud,
                                                                          and they are not included in the judgment.
      15                      Plaintiffs punitive-damages claim fails as a matter of
                                                                                     law, for at least three reasons.

      16                      First, punitive damages are not available unless plainti
                                                                                       ff proves by clear and convincing
                    evidence that defendant committed oppression, malice
      17                                                                 or fraud in the conduct on which
                    compensatory liability was based. Civ. Code § 3294(a
      18                                                                 ). In the case of a corporation, such as Ford,
                    the oppression, malice or fraud must have been person
                                                                          ally committed, authorized, or ratified by
     19
                    an officer, director or managing agent of the corporation.
                                                                               Civ. Code § 3294(b). There is no such
     20
                    evidence in this record.
     21
                             Second, punitive damages are barred by election of remedie
                                                                                        s, a point Ford raised during
     22            and after trial. Settled law prohibits plaintiff from recove
                                                                               ring punitive damages and Song-Beverly

     23            penalties for substantially the same conduct. Plaintiff has
                                                                               already elected the Song-Beverly
                   penalties, so he cannot recover punitive damages.
     24
                             And third, plaintiffs only arguable misrepresentation
                                                                                   claim is that the dealer incorrectly
     25
                   told him that the problems he had experienced with the
                                                                          DPS6 transmission in a previous car had
     26
                   been fixed by a re-design. As a matter of law, Ford is
                                                                          not responsible for the misstatement by its
     27            dealer, which is independently owned.

    28                       Plaintiff has a genuine Lemon Law claim. Ford stipulated
                                                                                      to it. His counsel's attempt to

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            1     stretch it into a punitive-damages case is unsupported. The Court should grant JNOV as to the

           2      punitive damages.

                  II.       FACTS
           3

           4                The background facts of the case and plaintiffs claims are set forth in the memorandum

           ^      supporting Ford's companion motion for new trial. This memorandum sets out the facts
                                                                                                       specific
                  to the JNOV motion, and merely summarizes facts already set forth in the new-trial
          6
                  memorandum.
          7
                           A.      Absence of Evidence of Malice, Fraud or Oppression by Ford's Officers,
          8                        Directors and Managing Agents.


          9                As detailed in Part II. B below, punitive damages are only available where plaintiff
                                                                                                                proves
      Iq          by clear and convincing evidence that defendant's acts that created liability were committed
                                                                                                               with
      j j        oppression, fraud or malice (as defined). Oppression and malice both require the conduct to be

                 "despicable." Punitive damages against a corporation, such as Ford, require clear and
                                                                                                       convincing
      12
                 evidence that the act of oppression, malice or fraud was personally committed, authorized
                                                                                                           or
      13
                 ratified by an officer, director or managing agent of the corporation.
      14
                           Plaintiff made scattershot claims that Ford committed all three: oppression, malice
                                                                                                               and
      15         fraud. Some of the asserted conduct was as a matter of law not oppression, malice or
                                                                                                      fraud, and
      15         all of it is bereft of evidence that an officer, director or managing agent personally committed
                                                                                                                  ,
                 authorized or ratified the conduct.
      17
                          Plaintiff claimed that Ford's conduct was "despicable" and in "willful and knowing
      18
                 disregard" because it admitted violating the Song-Beverly Act. [Tr. 4/5 1 70-71] He claimed that
      19
                 Ford's conduct was "malice" and in "knowing disregard of the rights to safety" because
                                                                                                        Ford sold
     20
                 vehicles containing the DPS6 transmission while supposedly knowing that the DPS6
                                                                                                  was a safety
     21         hazard because it could roll backward on a hill, stall or lose power and Ford assertedly
                                                                                                         knew it

     22         did not have a fix. [4/5 72] He claimed that Ford committed "oppression" and its conduct was
                "despicable and subjected [Myers] to cruel and unjust hardship because of "what he
     23                                                                                            and his
                family have to go through because of the things that they knew about." [4/5 72-73]
     24
                          Plaintiff claimed that Ford committed fraud because it supposedly "intentionally
     25
                concealed a material fact." [4/5 73]
     26
                          In rebuttal, plaintiff claimed that Ford intentionally concealed facts, as supposedly

     27
                1 We use the same citation form as we use in Ford's companion motion for new trial. 4/5
                                                                                                         refers to
     28         the date and 70-71 is the page. The cited pages are attached to the Declaration of Alina
                Mooradian, and a complete trial transcript is being lodged with the Court.

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           1    evidenced by its having requested confidentiality from NHTSA. [4/5 202 (citing Exh. 433)] He

           2    admitted that Ford did not have to "share every engineering document," but said "tell them

          ^     something." [4/5 203-204] He claimed that "Ford has superior and, we now know, exclusive

                knowledge about the issues with the DPS6," such as that it was the top warranty spending item,
       4
                that Ford supposedly did not share with others. [4/5 208] Plaintiff also appeared to argue that
       5
                Ford committed "despicable conduct" because it had faced 6000 lawsuits and had not brought

       ^        more Ford witnesses to the [4/5 208-09] courtroom.
       7                 Plaintiffs expert Luna filled in what the fraud supposedly was. She claimed that Ford

       8        misrepresented the facts (a) in the Montebello Ford dealer's statement to Myers that Ford had re-

       9        designed the DPS6 and put in new parts, and he did not have to worry about it; (b) Ford's

                representations that the DPS6 is an automatic (not manual) transmission; and (c) the Ford
      10
                brochure's statement that the DPS6 applies torque to the drive wheels 100% of the time during
      11
                shifts [3/29 16, 27]. But as plaintiffs Blasjo acknowledged, the dealer is an independent business
      12
                not owned by Ford. [3/27 220-221] Plaintiff theorized that Montebello Ford acted as Ford's

      13        ostensible agent because it was Ford's connection to the consumer. That theory was legally

      14        wrong, as set forth below. In any case, there is no evidence that any officer, director or managing

      15       agent of Ford committed, approved or ratified the dealer's statement.

                         Similarly, there is no evidence that Ford's statements that the DPS6 is an automatic
      16
               transmission were intentionally false, as required for punitive damages. The parties disputed what
      17
               to call the transmission. Blasjo testified that the transmission was manual, apparently because it
      18
               has clutches and gears. [3/23 35-38; 3/26 180-181] Ford's expert Taylor testified it was automatic
      19
               because it requires no driver input. [4/2 56-57] But both sides agree that the DPS6 shifts

      20       automatically without driver input. That makes it an automatic, not manual, transmission under

      21       the Society of Automotive Engineers' authoritative definition. [4/2 at 56; Exh. 476 1,2] The

               statement cannot be intentionally false when the transmission clearly was automatic under the
     22
               definition used by the premiere association of automotive engineers. Nor is there any evidence
     23
               that an officer, director or managing agent authorized the statement believing it to be false.
     24
                        The same holds for the brochure's reference to torque 1 00% of the time during shifts.
     25
               Besides apparently not having been seen by Myers, the statement is true. When functioning as

     26        designed, the DPS6 does provide torque all of the time during shifts; that is one of its major

     27        innovations. [4/2 60-61, 63-64] No one disputed that. Rather, Luna's critique was that the claim
               that it provides torque all the time is inconsistent with customers' complaints (apparently



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           1    referring to complaints of shuddering and jerking). [3/29 1 6, 27-28] Thus, the claim that this was

       2       a misrepresentation was just a variant of the complaint that Ford did not disclose that the DPS6

       o       had a history of various malfunctions.

                         Plaintiff also argued for punitive damages because Ford did not disclose to Myers the
       4
               DPS6's repair history, such as the TSBs and warranty spending. As detailed in the Facts section
       5
               of the memorandum supporting Ford's new-trial motion, most of the TSBs did not apply to

       ^       Myers' vehicle. Only one TSB was in force at the time Myers bought his vehicle. By all accounts,
       7       one is not an unusual number. The warranty spending was indeed Ford's largest. But Ford was

       8       paying for it. And many of the problems had been solved. For example, the shudder complaints

       9       dropped significantly after the seal-leak issues were addressed. Moreover, no customers of any

               car company receive a list of all repairs, TSBs or warranty spending. Nor do buyers of
      10
               refrigerators, dishwashers or any other product.
      11
                         Last, plaintiff intimated that Ford had concealed information based on Ford's conduct
      12
               before a federal court and federal agency. Plaintiff harped on the theme that many of the

      13       documents had been produced pursuant to a highly confidential protective order in a federal-court

      14       class action called Vargas v. Ford, repeatedly asking witnesses whether they had to sign the

      15       protective order, and that Ford had asked NHTSA for confidentiality for a submission regarding

               DPS6. As detailed in the memorandum supporting Ford's new-trial motion, a party cannot be
      16
               punished for petitioning federal courts or federal agencies for relief, including confidentiality.
      17
                        There is also no evidence that any officer, director or managing agent either committed,
      18
               authorized or ratified the supposed misrepresentations or nondisclosures. Plaintiff put on evidence
      19
               that many Ford employees knew of the DPS6's technical problems and knew Ford was having

      20       trouble fixing some of them. [E.g. 3/29 24 and Exh. 171 (October 2012: no fix "at this time" for

      21       some leaking seals), Exh. 1 72 (January 2013: automatic transmission service engineer says DPS6

      22       transmission is at top of Ford's warranty spending); 3/29 26 and Exh. 270 (August 2013: DPS6
               current model supervisor refers to possible 100% failure rate in China at 70,000 miles); 3/29 18
      23
               19 and Exh. 242 (December 2016: government investigations in foreign countries)] What
     24
               plaintiff did not put on was evidence that any of these employees (a) was an officer, director or
     25
               managing agent (i.e. corporate policymaker), (b) committed, authorized or ratified the affirmative

     26        representations and non-disclosures of which he complains, or (c) was aware that the DPS6

     27        transmission was probably dangerous (or even evidence that it was probably dangerous), let alone
               acted despicably.



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                  B.     Proceedings In This Case

    2             Plaintiffs complaint alleges five claims concerning his 2014 Ford Focus: (1) breach of

    3    express warranty - violation of the Song-Beverly Act; (2) breach of implied warranty - violation

    4    of the Song-Beverly Act; (3) fraudulent inducement - concealment; (4) fraudulent inducement -

    5    intentional misrepresentation; and (5) fraudulent inducement - negligent misrepresentation.

         Mooradian Decl. Exh. A (Complaint). At the start of trial, the parties stipulated to liability,
    6
         damages and civil on the Song-Beverly claims, resulting in a partial "judgment." Mooradian
    7
         Decl. Exh. M. Plaintiff dismissed the negligent-misrepresentation claim at trial. See Mooradian
    8
         Decl. Exh. Z (5 Amended Judgment). This motion does not seek to undo either of those results.

    9             Plaintiffs intentional-misrepresentation and fraudulent-concealment claims went to trial.

   10   The evidence is described in Ford's companion motion for new trial. Plaintiffs expert Luna

        testified that plaintiffs actual damages were $54,364. [3/29 51] This amount consisted of: (i)
   11
        $17,948 in payments he made on the vehicle; (ii) a balance of $22,631 he still owed when the car
   12
        was totaled; (iii) $6000 for a replacement vehicle to use while the Focus was being repaired; and
   13
        (iv) insurance, registration and repair costs of $7,785. [3/29 50-51]
   14
                  The jury found compensatory damages of $54,364 (the amount testified to by Luna) and

   15   punitive damages of $500,000. Mooradian Decl. Exh. DD.

   16             At plaintiff s request, the judgment includes the Song-Beverly amounts and the punitive

        damages, but not the fraud compensatory damages. See Mooradian Decl. Exh. Z. At the July 5,
   17

        2018, hearing on Ford's objections to plaintiffs proposed judgment, plaintiffs counsel conceded
   18
        that he cannot recover the compensatory damages.
   19
        III.      THE COURT SHOULD GRANT PARTIAL JNOV ON PLAINTIFF'S CLAIM
   20             FOR PUNITIVE DAMAGES.


  21             A.      JNOV must be granted where the verdict is contrary to law or not supported
                         by substantial evidence.
  22

                 A court must grant judgment notwithstanding the verdict (JNOV) "whenever a motion for
  23
        a directed verdict for the aggrieved party should have been granted had a previous motion been
  24
        made." (Code Civ. Proc., § 629, subd. (a).) JNOV is appropriate where the moving party is
  25
        entitled to judgment as a matter of law. E.g., Oakland Raiders v. Oakland-Alameda County
  26    Coliseum, Inc. (2006) 144 Cal.App.4th 1 175, 1 194. JNOV is also appropriate when "'"it appears

  27    from the evidence, viewed in the light most favorable to the party securing the verdict, that there

  28    is no substantial evidence in support'"" of the verdict. Brennan v. Townsend & O'Leaiy



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        1    Enterprises, Inc. (201 1) 199 Cal.App.4th 1336, 1345 (affirming grant of JNOV). Indeed, JNOV

        2     is necessary under such circumstances because "it is essential to the integrity of the judicial

        2    process that a judgment be supported by evidence that is at least substantial." Roddenberiy v.

        ^    Rodenberry( 1996) 44 Cal.App.4th 634, 652.

                       "[I]n all cases, the determination whether there was substantial evidence to support a
        5
             finding or judgment must be based on the whole record. The reviewing court may not consider

       ^     only supporting evidence in isolation, disregarding all contradictory evidence." Kidron v. Movie
       7     Acquisition Corp. (1995) 40 Cal.App.4th 1571, 1581; .see also Roddenberry, supra, 44

       8     Cal.App.4th at 652 ("The ultimate test is whether it is reasonable for a trier of fact to make the

    9        ruling in question in light of the whole record"). "The 'focus is on the quality, not the quantity, of

             the evidence.'" Jorge v. Culinary Institute ofAmerica (2016) 3 Cal.App.5th 382, 396. While the
   10
             trial court may rely on inferences, "such inferences must be 'a product of logic and reason' and

             must 'rest on the evidence.'" Kuhn v. Department of General Services (1994) 22 Cal.App.4th
   12
             1627, 1633. Denial of an earlier nonsuit or directed verdict motion does not bar a later JNOV on
   13        the same ground. Beavers v. Allstate Insurance Co. (1990) 225 Cal.App.3d 310, 328.

   14                 In addition to granting JNOV on all causes of action, a trial court may grant a motion for

   15        partial JNOV as to certain aspects of the judgment that are not supported by the record. E.g.,

            Dell 'Oca v. Bank ofNew York Trust Co., N.A. (2008) 159 Cal.App.4th 531, 553 ("It is settled that
   16
            the trial court has the power, in appropriate circumstances, to grant partial JNOV").
   17
                      The power to grant JNOV expires at the same time as the power to grant a new trial.
   18
            (Code Civ. Proc., § 629, 2d par.) Here, notice of entry ofjudgment was served on July 5, 2018,
   19
            so the Court must rule on the JNOV motion on or before September 4, 2018. For the reasons

   20       stated in this motion and in Ford's motion for new trial, this Court should grant both motions, as

   21       permitted by Code of Civil Procedure section 629.

                      B.     The Basic Standard for Punitive Damages
   22

   23                Punitive damages are available for breach of an obligation not arising from contract,

            where it is proved by clear and convincing evidence that the defendant acted with oppression,
   24
            fraud or malice. Civ. Code § 3294(a), (c). Section 3294 and the case law severely limit
   25
            availability of punitive damages.
   26
                     First, they are only available for conduct that caused underlying liability for actual

  27        damages. Mother Cobb 's Chicken T., Inc. v. Fox (1937) 10 Cal.2d 203, 205-06 ("Actual damages

  28        must be found as a predicate for exemplary damages"; reversing punitive damages on this basis)


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        1     (citation omitted); Cheung v. Daley (1995) 35 Cal.App.4th 1673, 1677-77 (same); Orient Handel

        2     v. United States Fid. & Guar. Co. (1987) 192 Cal.App.3d 684, 697 (failure to prove reliance

        ^     precluded punitive damages for fraud).

                        Second, "oppression," "fraud" and "malice" are specifically defined and limited. "Fraud"
        4
              is not the same as common-law fraud. "Fraud" for purposes of punitive damages is limited
                                                                                                       to "an
        5
              intentional misrepresentation, deceit, or concealment of a material fact known to the defendant

       ^      with the intention on the part of the defendant ofthereby depriving a person ofproperty or legal
       7      rights or otherwise causing injury." Civ. Code § 3294(c)(3) (emphasis added). "Malice" requires
       8      that defendant intends to cause injury to plaintiff (which no one claims here) or "despicable

       q      conduct which is carried on by the defendant with a willful and conscious disregard of the rights

             or safety of others." Civ. Code § 3294(c)(1) (emphasis added). Similarly, "oppression" is
   10
             "despicable conduct that subjects a person to cruel and unjust hardship in conscious disregard
                                                                                                            of
   11
             that person's rights ." Civ. Code § 3294(c)(2) (emphasis added). "Despicable" is an independen
                                                                                                           t
   12
             substantive requirement met only by conduct that is "base," "vile," or "contemptible," College
   13        FIosp., Inc. v Superior Court (1994) 8 Cal.4th 704, 725, such that it would be "looked down
                                                                                                         upon
   14        and despised by ordinary decent people." Lacknerv. North (2006) 135 Cal.App.4th 1 188,
                                                                                                    1210
   15        (citation omitted). "Conscious disregard" means "that the defendant was aware of the probable

             dangerous consequences of his conduct, and that he willfully and deliberately failed to avoid
   16
             those consequences." Taylor v. Superior Court (1979) 24 Cal.3d 890, 894; American Airlines
                                                                                                        v.
   17
             Sheppard, Mullin, Richter & Hampton (2002) 96 Cal.App.4th 1017, 105 1 .
   18
                      Third, clear and convincing evidence means evidence "so clear as to leave no substantial
   19
             doubt'; 'sufficiently strong to command the unhesitating assent of every reasonable mind.'"
                                                                                                         In re
  20        Angelia (1981) 28 Cal.3d 908, 919; Pacific Gas & Elec. Co. v. Superior Court (201 8) 24

  21        Cal.App.5th 1 150, 235 Cal.Rptr.3d 228, 235 (applying this requirement to punitive damages).

                      Fourth, a corporation (here Ford) cannot be liable for punitive damages unless plaintiff
  22
            proves by clear and convincing evidence that the act of oppression, fraud or malice was
  23
            personally committed, authorized or ratified by an officer, director or managing agent of
                                                                                                      the
  24
            corporation. Civ. Code § 3294(b); Barton v. Alexander Hamilton Life Ins. Co. (2003) 1 10
  25
            Cal.App.4th 1640, 1644 (holding that commission, authorization or ratification by officer,

  26        director or managing agent must be proved by clear and convincing evidence). This requiremen
                                                                                                         t

  27        fully applies when punitive damages are sought based on conduct of an agent. Barton, 1 10

            Cal.App.4th at 1644 (affirming nonsuit on punitive damages based on lack of evidence that
  28


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        1    insurance agent who made misrepresentations was a "managing agent" under section 3294(b) or

        2    that insurer ratified his conduct). To establish ratification, plaintiff must prove that the officer,

        n    director or managing agent actually knew of the acts constituting malice, oppression or fraud and

    ^        ratified them. College Hosp. Inc. v. Superior Court (1994) 8 Cal.4th 704, 726 ("Corporate

             ratification in the punitive damages context requires actual knowledge of the conduct and its
    5
             outrageous nature."); Cruz v. HomeBase (2000) 83 Cal.App.4th 160, 168.
    6
                      Fifth and last, because section 3294(a) only authorizes punitive damages "for the breach

    7        of an obligation not arising from contract," punitive damages are not available for violation of a

    8        statute, such as Song-Beverly, that imposes additional obligations on a contractual relationship,

    q        Brewer v. Premier GolfProperties, LP (2008) 168 Cal.App.4th 1243, 1255-56.

                      Under these principles, plaintiffs evidence does not begin to support punitive damages
   10
             against Ford. There is no evidence that the asserted acts of oppression, fraud or malice were
   11
             committed, approved or ratified by an officer, director or managing agent of Ford. That alone is
   12
             dispositive. There is also no clear and convincing evidence that Ford (in the person of officers,

   13       directors or managing agents) intentionally misrepresented or concealed problems with the DPS6,

   14       or was aware ofprobable dangerous consequences and deliberately failed to avoid them and

   15       acted in some vile, base manner; and insufficient evidence supporting the underlying tort claims.

                      C.     Plaintiff Failed To Prove Oppression, Fraud or Malice By An Officer,
   16
                             Director or Managing Agent of Ford Motor Company.
   17
                      Plaintiff failed to present clear and convincing evidence that an officer, director or
   18
            managing agent personally committed, authorized, or ratified any of the acts claimed to constitute

   19       oppression, fraud or malice. As detailed in the new-trial motion, plaintiff introduced evidence that

   20       Ford employees knew that the DPS6 had specific reliability problems, such as transmission leaks

   21
            and shuddering. But knowing of reliability problems is not oppression, fraud or malice. As

            detailed above, to support punitive damages, plaintiff needed to show that (a) an officer, director
   22
            or managing agent of Ford Motor Company (b) personally committed, authorized or ratified (c)
   23
            conduct constituting oppression, fraud or malice, as defined in section 3294(c) that (d) was a tort
   24
            that caused actual damage to Myers. Plaintiff did not submit any evidence that met these
  25        requirements.

  26                 There was no evidence that any officers or directors of Ford Motor Company were

  27        involved in any of the acts claimed to constitute malice, fraud or oppression. Rather, plaintiff

            contended in closing argument that that several people were managing agents. [4/5 74-76] Thus
  28


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            we focus on managing agents.

    2                 "Managing agents'' include "only those corporate employees who exercise substantial

    2       independent authority and judgment in their corporate decisionmaking so that their decisions

        ^   ultimately determine corporate policy." White v. Ultramar, Inc. (1999) 21 Cal.4th 563, 566-67,

            573. "[CJorporate policy" means "formal policies that affect a substantial portion of the company
    5
            and that are the type likely to come to the attention of corporate leadership." Roby v. McKesson

    ^       Corp. (2009) 47 Cal.4th 686, 715. "The scope of a corporate employee's discretion and authority
    7       under our [managing agent] test is ... a question of fact for decision on a case-by-case basis."

    8       White, 21 Cal.4th at 567.

                      It is well established that plaintiff cannot avoid proving the employee's discretion and
    9
            authority by pointing to titles. The question whether an employee exercises the required degree of
   10
            control over corporate policy "should not turn on any official title," but on "the degree of
   11
            discretion the employees possess in making decisions that will ultimately determine corporate
   12
            policy." White, 21 Cal.4th at 571 (citation omitted). Thus title and position in the corporate

   13       hierarchy are not enough. Kelly-Zurian v. Wohl Shoe Co. (1994) 22 Cal.App.4th 397, 421. Being

   14       a manager or supervisor is also not enough. Roby, 47 Cal.4th at 714-15; CRST, Inc. v. Superior

   15       Court (2017) 1 1 Cal.App.5th 1255, 1273. Even a corporate vice president is not a managing agent

            absent actual proof of his or her discretion and authority to set corporate policy. On this basis
   16
            Gelfo v. Lockheed Martin Corp. (2006) 140 Cal.App.4th 34, 63 affirmed a directed for defendant
   17
            on punitive damages. The only potential managing agent was "a Lockheed vice-president" named
   18
            MacPherson. Id. at 63. "No evidence was presented regarding MacPherson's duties or authority,
   19       let alone substantial evidence, that MacPherson 'exercise[d] substantial discretionary authority

   20       over decisions that ultimately determine corporate policy.'" Thus "[v]iewing the evidence in the

   21       light most favorable to Gelfo, we similarly conclude no substantial evidence showed MacPherson

            was a managing agent." 140 Cal.App.4th at 63.
   22
                     With that background, we address in turn the people identified by plaintiff. [See 4/5 74
   23
            76] Craig Renneker was the Acting Director, Transmission & Driveline Engineering. [Exh. 167]
   24
            As in Gelfo, there is no evidence of his duties or authority. There is no evidence he sets Ford's
   25
            corporate policy. His title alone cannot establish that he is a managing agent, because titles and

   26       place in the corporate hierarchy are insufficient. White, 21 Cal.4th at 571, 574; Kelly-Zurian, 22

   27       Cal.App.4th at 421; Gelfo, 140 Cal.App.4th at 63. And it would not matter if he were a managing
   2g       agent, because plaintiffs evidence just shows he asked for information on what a competitor told


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    1       customers about what to expect from a dry clutch. [Exh. 167] That is not malice, fraud or

    2       oppression, or even a tort. There is no evidence it caused plaintiff any damage.

                      Rick Bonifas was "Focus PVT Program Manager." [Exh. 167] Again there is no evidence
    3
        ,   of his duties or authority, and no evidence he sets Ford's corporate policy. And plaintiffs

            evidence just shows he proposed a message to dealers that vehicles with a DPS6 may exhibit
    5
            shudder or shake and the condition does not cause durability or reliability concerns. [Exh. 167]

    ^       That is not oppression, fraud or malice. It is also not a tort for which Ford has underlying liability
    7       or that it harmed Myers. Indeed, there is no evidence the message was even sent.

    8                Tom Hamm was a "DPS6 System Engineer" in the "Engineering Purchased

    9       Transmissions Department." [Exh. 266] As with the others, there is no evidence of his duties or

            authority. There is no evidence he sets corporate policy (nor would one expect corporate policy to
   10
            emanate from a "System Engineer"). And beyond the failure to prove he was a managing agent,
   11
            there is also no evidence he committed, authorized or approved any act of oppression, fraud or
   12
            malice. For instance, he asserted, to another person who was also not a managing agent, that Ford

   '3       should not say that the DPS6 was a manual transmission after selling it as an automatic
   14       transmission. [3/27 47] Whatever the merits of that advice, it was not advice to misrepresent

   j5       anything. It is not evidence that a managing agent thought the transmission was being

            misrepresented, let alone that a managing agent intentionally misrepresented it - as required for
   16
            punitive damages. Civ. Code § 3294(c)(2) (definition of fraud). Otherwise Hamm's name merely
   17
            appears on internal Ford documents that plaintiff used to show that Ford employees knew about
   18
            DPS6 problems and that there was no fix for one of them (and even that was in 2012, two years
   19       before Myers bought his car). [3/26 237-38; 3/29 24]

   20                Chris Kwasniewicz was a "DPS6 Transmission Manager." [Exh. 272 p. 2] Again there is

   21       no evidence of his duties or authority. Being a manager is not sufficient to be a managing agent

            for purposes of punitive damages. Roby, 47 Cal.4th at 714-15; CRST, 1 1 Cal.App.5th at 1273.
   22
            And again there is no evidence he committed, authorized or approved any act of oppression, fraud
   23
            or malice. As with the others, his name simply appears on documents showing that employees
   24
            knew of problems such as fluid leakage with the DPS6, and he was involved in resolving some of
   25
            the issues. [Exh. 272; 3/26 239; 4/3 169]

   26                As stated above, William Draper was Chief Engineer, Vehicle Architecture & Executive

   27       Technical Leader, System Design, Global Product Development/Global Product Programs/Basic

            Design." [Exh. 177 p. 9] The mere title of "Chief Engineer" is insufficient as a matter of law,
   28


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         because managing-agent status cannot be proved by titles or position in the corporate hierarchy.

    2    White, 21 Cal.4th at 571, 574; Kelly-Zurian, 22 Cal.App.4th at 421; Gelfo, 140 Cal.App.4th at 63.

    2    There is no evidence that a "chief engineer" makes formal corporate policy at Ford, as required to

    4    be a managing agent. White, 21 Cal.4th at 566-67, 573; Roby, 47 Cal.4th at 715. And beyond the

         absence of evidence that he is a managing agent, there is also no evidence he committed,
    5
         authorized or approved an act of oppression, fraud or malice. He was merely frustrated that there

    ^    was no fix for a family member with a grinding noise from a DPS6. [Exh. 1 77]
    7             Bennie Fowler was Group Vice President, Global Quality. [Exh. 235 p. 2] Even being a

    8    vice president of a large corporation, however, does not make one a managing agent. Gelfo, 140

    9   Cal.App.4th at 63 (affirming directed verdict against punitive damages based on conduct of vice

        president at Lockheed Martin, because plaintiff did not introduce evidence of his duties and
   10
        authority). Again there is no evidence of his duties and discretion. Although the absence of
   11
        evidence that he is a managing agent is dispositive, there is also no evidence he committed,
   12
        authorized or ratified an act of oppression, fraud or malice that caused actual damage to plaintiff

   13   Myers. Plaintiffs evidence shows that Fowler knew in 2016 of the reliability problems with the

   14   DPS6 and that it had begun to cause increases in warranty spending starting in 2013. [3/26 225;

   15   Exh. 242 (December 2016), 235 (August 2016)] This does not avail plaintiff. Large warranty

        spending is not a tort. Knowing of large warranty spending is also not a tort. Neither of them is
   16
        evidence of what plaintiff had to prove: that a managing agent at Ford intentionally
   17
        misrepresented or concealed material information from Ariel Myers with the intention of
   18
        depriving him of legal rights or causing him injury. Civ. Code § 3294(c)(2). Similarly, large
   19
        warranty spending, or knowing about that spending, is not evidence that a managing agent at Ford

  20    decided to sell the 2014 Focus while aware of probable dangerous consequences.

  21    § 3294(c)(1), (3); Taylor, 24 Cal.3d at 894. Showing such knowledge in 2016 cannot establish that

        Ford concealed anything/ro/77 Myers, that concealing it harmed Myers, or that anyone
  22
        consciously disregarded Myers ' rights, as required to establish malice, oppression or fraud in the
  23
        conduct that causes liability to Myers. Myers had bought the Focus two years previously, in July
  24
        2014. Plaintiff has already admitted that any punitive damages must be based exclusively on
  25
        conduct before he bought the car. "As of that date, Ford's actionable wrongs were performed and

  26    complete as to its fraudulent conduct." Mooradian Deck Exh. Y at 4-5 (Plaintiffs Response to

  27    FMC Objections to Proposed Judgment).

                 The analysis is the same as to the other Ford employees plaintiff named and sometimes
  28


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    1      claimed to be managing agents of Ford: Greg Gardener, Charles Kopeika, Tom Mclnerny, Allen

    2      Draper, Ram Krishnaswami, Charles Spoon, Helnit Newton, (unnamed) "manager of their Asia

    2      Pacific and Africa," "Ford Asia," Shawn McClain, Michael Berardi, Vince Lajiness, Gary

       ,   Nichols [4/5       75-76; 4/5   164-65] There is no evidence of their duties and authority, nothing

           sufficient to establish by clear and convincing evidence that they establish "formal policies that
    5
           affect a substantial portion of the company." Roby, 47 Cal.4th at 715; White, 21 Cal.4th at 573;

    ^      Gelfo, 140 Cal.App.4th at 63. Plaintiff emphasized that some have titles such as "manager," but
    7      titles and place in the corporate hierarchy are insufficient as a matter of law to prove that a person

    8      is a managing agent. Roby, 47 Cal.4th at 714-15; White, 21 Cal.4th at 573; Kelly-Zurian, 22

    g      Cal.App.4th at 421 . And as with the others discussed above, plaintiffs evidence does not

           establish that any of these people committed, authorized or ratified acts of malice, fraud or
   10
           oppression. In each case, the evidence establishes at most that they knew of mechanical problems
   11
           or warranty spending. It does not establish that they intentionally decided to misrepresent or
   12
           conceal facts; that they were aware of probable dangerous consequences; or that they authorized

   13      or ratified someone else's misrepresentation, concealment, or conscious disregard, as required for

   14      punitive damages.

   15                  We end where we began. Plaintiff cannot obtain punitive damages by bombarding the jury

           with names and titles. Plaintiff must show by clear and convincing evidence (a) the actual duties
   16
           and responsibilities of those named, (b) that any person proved to be a managing agent personally
   17
           committed, authorized or ratified the acts (c) constituting malice, fraud or oppression; and (d)
   18
           those acts must be the basis for underlying liability for actual damages. None of this evidence fills
   19      the bill.

  20                   D.     Punitive Damages Are Barred By Plaintiffs Election of Remedies

  21                   Even if plaintiff had otherwise met the requirements for punitive damages, the election-of-

  22       remedies doctrine would bar punitive damages here. The reasons are set forth in Ford's

  23
           companion motion for new trial, so we do not repeat them here.

                       E.     The Record Does Not Contain Legally Sufficient Evidence That The Dealer
  24
                              Was Ford's Agent.

  25
                    Trying to establish an affirmative misrepresentation, plaintiff pointed to the salesperson's
  26
           statement that Ford had redesigned the transmission and changed parts, and that plaintiff need not

  27       worry about transmission problems. [See 3/21 1 15, 1 16] Plaintiff sought to hold Ford liable for

  28       these statements on the theory that the dealer was Ford's ostensible agent. Plaintiffs evidence


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        1    was that he was at a Ford dealership, the salesperson was wearing a Ford shirt, he could only deal

       2     with the dealer (not Ford) and he thought he was dealing with Ford. [3/21 1 13-15] Blasjo testified

       3     that dealers are the face of Ford to the consumer. [3/27 220-2 1 ]

                       As a matter of law, this evidence is insufficient. The Vehicle Code requires the dealer to
       4
             operate as Ford's franchisee, plaintiffs evidence does nothing more than establish that franchise
       5
             relationship, and the franchise relationship is insufficient as a matter of law to establish agency.
       6
                       California law requires a new-car dealer to be a franchisee of the manufacturer. Veh. Code

    7        § 1 1713.1(f) (violation of statute for licensed dealer to "[a]dvertise for sale, sell, or purchase for

       8     resale a new vehicle of a line-make for which the dealer does not hold a franchise"); see Veh.

    9        Code § 1 1700 (all dealers must be licensed).) Ford is a franchisor, defined as a manufacturer who

             "distributes new motor vehicles subject to registration under this code." Veh. Code, § 33 1 .2. As
   10
             part of this franchise relationship, the Vehicle Code requires the dealer to be "substantially
   11
             associated with the franchisor's trademark, trade name, advertising, or other commercial symbol
   12
             designating the franchisor; and requires the dealer to "constitute^ a component of the franchisor's
   13        distribution system." Veh. Code § 33 1(a)(3), (4).

   14                 Thus the facts that Montebello Ford was a Ford dealership, that it sold Ford vehicles, and

   15        that the salesperson was wearing a Ford shirt, are merely aspects of the franchise relationship

            required by the Vehicle Code.
   16
                      As a matter of law, this franchise relationship - even one "imposing] comprehensive and
   17
            meticulous standards for marketing [the franchisor's] trademarked brand and operating its
   18
            franchises" ~ does not turn the franchisee into the franchisor's agent. Patterson v. Domino 's
   19
            Pizza, LLC (2014) 60 Cal.4th 474, 478, emphases added. This is so even if the "system of

  20        standards and procedures" are so extensive that they govern a "long list of marketing, production,

  21        operational, and administrative areas"; include the provision of "printed manuals, training

  22        programs, advertising services, and managerial support"; and help "ensure[] consistency and
            uniformity in the quality of goods and services." {Patterson, at 489-490.) And specifically, the
  23
            dealer's use of Ford's name and trademark cannot establish agency. Emery v. Visa Internal.
  24
            Service Ass'n (2002) 95 Cal.App.4th 952, 961 [mere reliance on franchisor's general advertising
  25
            and franchisee's display of the logo, trade name, or trademark of a franchisor does not suffice to

  26        establish ostensible agency].

  27                 For a franchisee to be an agent, a franchisor must instead have "retained or assumed a

  2g        general right of control over ... [the] relevant day-to-day aspects" of the franchisee. {Id. at 497-


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        1     498. emphasis added.) Plaintiff introduced no evidence that Ford assumed a general right
                                                                                                       of
        2     control over the dealership, or over the salesperson's statements in selling the vehicle.

                        Further, ostensible agency requires that the principal "intentionally, or by want
        3                                                                                                 of ordinary
        ^     care" (Civ. Code, § 23 17) caused the third party (here Myers) to think that the ostensible
                                                                                                          agent
              was acting as its agent. As a matter of law, that is not the case. Ford cannot be said
                                                                                                     to have acted
        5
              intentionally or negligently induced customers to think the dealer is Ford's agent
                                                                                                 merely by
       ^      allowing the dealer to do what the dealer is legally required to do: act as a franchisee.
       7      IV.       CONCLUSION

       8
                       The Court should grant judgment notwithstanding the verdict on plaintiffs request
                                                                                                         for
       9      punitive damages. An amended judgment should be entered consisting only of the
                                                                                             damages,
   1o         penalties, fees and costs on plaintiffs claim under the Song-Beverly Act, and providing
                                                                                                      that
              plaintiff takes nothing on his remaining claims.
   11

   12         Dated: July 30, 201 8

   13
                                                                   By:
                                                                         Alina Mooradian
   14
                                                                         SNELL & W1LMER l.l.p.

   15
                                                                         Robert A. Brundage
                                                                         MORGAN, LEWIS & BOCK1US, LLP
   16

                                                                  Attorneys for Defendant
   17
                                                                  FORD MOTOR COMPANY

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     1                                          PROOF OF SERVICE

    2           I am employed in the County of Los Angeles, State of California. I am over the age of 1 8
         and not a party to the within action; my business address is 350 S. Grand Ave., Suite 3100, Los
     3   Angeles, California, 90071 .

    4              On July 30, 2018, 1 served, in the manner indicated below, the foregoing document
         described as DEFENDANT FORD MOTOR COMPANY'S MEMORANDUM OF POINTS
    5    AND AUTHORITIES IN SUPPORT OF MOTION FOR JUDGMENT
         NOTWITHSTANDING THE VERDICT on the interested parties in this action by placing true
    6    copies thereof, enclosed in sealed envelopes, at Los Angeles, addressed as follows:

    7
                          BY REGULAR MAIL: I caused such envelopes to be deposited in the United
    8                     States mail at Los Angeles, California, with postage thereon fully prepaid. 1 am
                          readily familiar with the firm's practice of collection and processing
    9                     correspondence for mailing. It is deposited with the United States Postal Service
                          each day and that practice was followed in the ordinary course of business for the
   10                     service herein attested to (C.C.P. § 1013(a)).]

   1 1

   12                     BY FACSIMILE: (C.C.P. § 1013(e)(f)).

   13                     BY FEDERAL EXPRESS / OVERNITE EXPRESS: I caused such envelopes to
                          be delivered by air courier, with next day service, to the offices of the addressees.
   14                     (C.C.P. § 1013(c)(d)).


   15                     BY PERSONAL SERVICE: I caused such envelopes to be delivered by hand to
                 0
                          the offices of the addressees. (C.C.P. § 101 l(a)(b)).
   16
                          BY E-MAIL: I caused such document to be served via e-mail to the below-
   17                     referenced addressees.


   18

   19             I declare under penalty of perjury under the laws of the State of California that the above
         is true and correct.
   20
                  Executed on July 30, 2018, at Los Angeles, California.
   21


   22

   23
                                                            Ll
                                                        Alma Chang
                                                                   k-
                                                                            n
                                                                           (J

   24

   25


   26

   27


   28


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       1                                            SERVICE LIST
                                       Ariel Myers v. Ford Motor Company, et al.
    2                               Los Angeles Superior Court Case No.: BC638302

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